                                                                                      Case 15-12959               Doc 31         Filed 09/04/15 Entered 09/04/15 19:46:03                         Desc Main
                                                                                                                                   Document     Page 1 of 3

                                                                     Fill in this information to identify your case:                                                               Check as directed in lines 17 and 21:
                                                                                                                                                                                   According to the calculations required by
                                                                     Debtor 1          Terry T Cousin
                                                                                       __________________________________________________________________                          this Statement:
                                                                                          First Name               Middle Name           Last Name

                                                                     Debtor 2             ________________________________________________________________                             1. Disposable income is not determined
                                                                     (Spouse, if fil ing) First Name               Middle Name           Last Name                                        under 11 U .S.C. § 1325(b)(3).

                                                                     United S tates Bankruptcy Court for the:   District of Massachusetts                                              2. Disposable income is determined
                                                                                                                                                                                          under 11 U .S.C. § 1325(b)(3).
                                                                     Case number          15-bk-12959
                                                                                          ___________________________________________
                                                                     (If known)                                                                                                        3. The commitment period is 3 years .
                                                                                                                                                                                       4. The commitment period is 5 years.

                                                                                                                                                                                       Check if this is an amended filing

                                                                   Official Form 22C–1
                                                                   Chapter 13 Statement of Your Current Monthly Income
                                                                   and Calculation of Commitment Period                                                                                                             12/14

                                                                   Be as complete and accurate as p ossible. If two married people are filing together, both are equally responsible for being accurate. If
                                                                   more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
                                                                   top of any additional pages, write your name and case number (i f known).
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                                                                   Part 1:          Calculate Your Average Monthly Income

                                                                   1. What is your marital and filing status? Check one only.
                                                                            Not married. Fill out Column A, lines 2-11.
                                                                             Married. Fill out both Columns A and B, lines 2-11.

                                                                      Fill in the average monthly income that you received fr om all sources, derived during the 6 ful l months before you file this
                                                                      bankruptcy case. 11 U.S.C. § 101(10A). For exam ple, if you are filing on September 15, the 6-month period would be March 1 through
                                                                      August 31. If t he amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. F ill in
                                                                      the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
                                                                      from that property i n one column only. If you have nothi ng to report for any line, write $0 in the space.

                                                                                                                                                                    Column A                Column B
                                                                                                                                                                   Debtor 1                 Debto r 2 or
                                                                                                                                                                                            non -filing spouse

                                                                   2. Your gross w ages, salary, tips, bonuses, overti me, and com missions (before all
                                                                      payrol l deductions ).                                                                        $____________
                                                                                                                                                                         3,741.00              $__________
                                                                                                                                                                                                      0.00
                                                                   3. Alimony and maintenance payments. Do not include payments from a spouse if
                                                                      Column B is filled in.                                                                                 0.00
                                                                                                                                                                    $____________              $__________
                                                                                                                                                                                                      0.00
                                                                   4. All amounts from any source which are r egular ly paid for household expenses of
                                                                      you or your dependents, including child support. Include regular contributions from
                                                                      an unmarried partner, members of your household, your dependents, parents , and
                                                                      roommates. Include regular contributions from a spouse only if Column B is not filled
                                                                      in. Do not include payments you listed on line 3.                                             $___________
                                                                                                                                                                            0.00                      0.00
                                                                                                                                                                                               $__________

                                                                   5. Net income from operating a b usiness, profession, or farm

                                                                      Gross receipts (before all deductions)                                       0.00
                                                                                                                                          $____________

                                                                      Ordinary and necessary operating expenses                         – $____________
                                                                                                                                                   0.00

                                                                                                                                                          Copy
                                                                      Net monthly income from a business, profession, or farm                      0.00
                                                                                                                                          $____________                      0.00
                                                                                                                                                                    $____________                    0.00
                                                                                                                                                                                               $_________
                                                                                                                                                          here


                                                                   6. Net income from rental and other real property
                                                                      Gross receipts (before all deductions)                                      0.00
                                                                                                                                         $____________

                                                                      Ordinary and necessary operating expenses                      – $_____________
                                                                                                                                                0.00
                                                                                                                                                          Copy
                                                                      Net monthly income from rental or other real property                       0.00
                                                                                                                                         $____________
                                                                                                                                                          here      $____________
                                                                                                                                                                             0.00                    0.00
                                                                                                                                                                                              $__________

                                                                    Official Form 22C–1                Chapter 13 Statement of Your Curr ent Monthly Income and Calculation of Commitment Period                         page 1
                                                                                       Case 15-12959                           Doc 31
                                                                                                                              Filed 09/04/15 Entered 09/04/15 19:46:03 Desc Main
                                                                    Debtor 1             Terry T Cousin                          Document
                                                                                         _______________________________________________________ Page 2 ofCase
                                                                                                                                                           3 number (if known)_____________________________________
                                                                                                                                                                              15-bk-12959
                                                                                         First Name          Middle Nam e                 Last Name



                                                                                                                                                                                                             Column A                             Column B
                                                                                                                                                                                                             Debtor 1                             Deb tor 2 or
                                                                                                                                                                                                                                                  n on- filing spouse

                                                                   7. Interest, dividends, and royalties                                                                                                                0.00
                                                                                                                                                                                                               $____________                                0.00
                                                                                                                                                                                                                                                     $__________

                                                                   8. Unemployment compensation                                                                                                                         0.00
                                                                                                                                                                                                               $____________                                0.00
                                                                                                                                                                                                                                                     $__________

                                                                        Do not enter the amount if you contend that the amount received was a benefit under
                                                                        the Social Security Act. Instead, list it here: .... ..............................

                                                                           For you .......................................................................                     0.00
                                                                                                                                                                     $_____________
                                                                           For your spouse .........................................................                 $_____________
                                                                                                                                                                               0.00

                                                                   9. Pension or retirem ent income. Do not include any amount received that was a
                                                                        benefit under the Social Security Act.                                                                                                          0.00
                                                                                                                                                                                                               $____________                         $__________
                                                                                                                                                                                                                                                            0.00

                                                                   10. Income from all other sources not listed above. Specify the source and amount.
                                                                        Do not include any benefits received under the Social Security Act or payments
                                                                        received as a victim of a war crime, a crime against humanity , or international or
                                                                        domestic terrorism. If necess ary, list other s ources on a s eparate page and put the
                                                                        total on l ine 10c.
                                                                                                                                                                                                               $_____________                       $___________
                                                                          10a. __________________________________________________________________
                                                                                                                                                                                                               $_____________                       $___________
                                                                          10b. __________________________________________________________________
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                                                                          10c. Total amounts from separate pages, if any.                                                                                  + $____________
                                                                                                                                                                                                                      0.00                       + $__________
                                                                                                                                                                                                                                                          0.00

                                                                   11. Calculate your total average monthly income. Add lines 2 through 10 for each
                                                                        col umn. Then add the total f or Column A to the total for Column B.                                                                        3,741.00
                                                                                                                                                                                                               $____________                +               0.00
                                                                                                                                                                                                                                                    $___________            =    3,741.00
                                                                                                                                                                                                                                                                                $________
                                                                                                                                                                                                                                                                                Total average
                                                                                                                                                                                                                                                                                m onthly income




                                                                   Part 2:            Determine How to Measure Your Deductions from Income

                                                                   12. Copy your total average monthly income from line 11. ..........................................................................................................................
                                                                                                                                                                                                                                                                            $_____________
                                                                                                                                                                                                                                                                                  3,741.00
                                                                   13. Calculate the marital adjustment. Check one:

                                                                             You are not married. Fill in 0 in line 13d.
                                                                             You are married and your spouse is filing with you. Fill in 0 in line 13d.
                                                                             You are married and your spouse is not filing with you.
                                                                             Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you
                                                                             or your dependents, such as payment of t he spouse’s tax liability or the spouse’s support of someone other than you or
                                                                             your dependents.
                                                                              In lines 13a-c, specify the basis for excluding this i ncome and t he amount of income devoted to each purpose. If
                                                                              necessar y, list additional adjustments on a s eparate page.

                                                                              If this adjustment does not apply, enter 0 on line 13d.

                                                                              13a. _______________________________________________________________________                                                         $___________
                                                                              13b. _______________________________________________________________________                                                         $___________
                                                                              13c. _______________________________________________________________________                                                      + $___________
                                                                              13d. Total .............................................................................................................                     0.00
                                                                                                                                                                                                                   $___________                 Copy here.          13d .           0.00
                                                                                                                                                                                                                                                                            ____________


                                                                   14. Your current monthly income. Subtract line 13d from line 12.                                                                                                                                 14.          3,741.00
                                                                                                                                                                                                                                                                             $ __________


                                                                   15. Calculate your current monthly income for the year. Follow these steps:

                                                                        15a. Copy line 14 here                ..................................................................................................................................................... 15a.          3,741.00
                                                                                                                                                                                                                                                                            $ ____________

                                                                                Multiply line 15a by 12 (the number of months i n a year).                                                                                                                                  x 12
                                                                        15b. The result is your c urrent monthl y income for the year for this part of the form.                                                                                                  15b.
                                                                                                                                                                                                                                                                              44,892.00
                                                                                                                                                                                                                                                                            $___________


                                                                    Official Form 22C–1                          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                               page 2
                                                                                       Case 15-12959                          Doc 31                Filed 09/04/15                    Entered 09/04/15 19:46:03 Desc Main
                                                                    Debtor 1            Terry T Cousin                          Document
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                                                                                                                                                                                                                   15-bk-12959
                                                                                        First Name          Middle Nam e                Last Name




                                                                   16. Calculate the median family income that applies to you. Follow these steps:

                                                                        16a. Fill in the state in which you li ve.                                             _________
                                                                                                                                                               Massachusetts

                                                                        16b. Fill in the number of people in your household.                                   _________
                                                                                                                                                                 5

                                                                        16c. Fill in the median f amily income for your state and size of household. ............................................................................ 16c.
                                                                                                                                                                                                                                                                       116,645.00
                                                                                                                                                                                                                                                                     $___________
                                                                                To find a list of applicable median income amounts, go online using the link specified in the separate
                                                                                instructions for this form. This list may also be available at the bankruptcy clerk’s office.

                                                                   17. How do the lines compare?

                                                                        17a.         Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under 11 U.S.C.
                                                                                     § 1325(b) (3). Go to Part 3. Do NOT fill out Calculation of Disposable Income (Official Form 22C–2).

                                                                        17b.         Line 15b is more t han line 16c. On the top of page 1 of this form, check box 2, Dis posable income is de termined under 11 U.S.C.
                                                                                     § 1325(b)(3). Go to Part 3 and fill out Calculation of Disposable Income (Official Form 22C–2). On line 39 of that form, copy
                                                                                     your current monthly income from line 14 above.

                                                                   Part 3:             Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)


                                                                   18. Copy your total average monthly income from line 11. .......................................................................................................................... 18.
                                                                                                                                                                                                                                                                        3,741.00
                                                                                                                                                                                                                                                                     $____ ______
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                                                                   19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
                                                                        that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s
                                                                        income, copy the amount from line 13d.
                                                                        If the marital adjustment does not apply, fill in 0 on line 19a.                                                                                                                    19a.            0.00
                                                                                                                                                                                                                                                                     $__________

                                                                        Subtract line 19a from line 18.                                                                                                                                                     19b.
                                                                                                                                                                                                                                                                        3,741.00
                                                                                                                                                                                                                                                                     $__________

                                                                   20. Calculate your current monthly income for the year. Follow these steps:


                                                                        20a. Copy line 19b.. ............................................................................................................................................................... 20a.
                                                                                                                                                                                                                                                                         3,741.00
                                                                                                                                                                                                                                                                     $___________

                                                                                Multiply by 12 (the number of months in a year).                                                                                                                                    x 12
                                                                        20b . The result is your current monthly income for the year for this part of the form.                                                                                            20b.         44,892.00
                                                                                                                                                                                                                                                                     $___________


                                                                        20c. Copy the median family income for your state and size of household from line 16c. .... ....................................................
                                                                                                                                                                                                                                                                     $___________
                                                                                                                                                                                                                                                                       116,645.00

                                                                   21. How do the lines compare?

                                                                             Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment period is
                                                                             3 years. Go to Part 4.
                                                                             Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
                                                                             check box 4, The commitment period is 5 years . Go to Part 4.


                                                                    Part 4:           Sign Below

                                                                           By signing here, under penalty of perjur y I declare that the i nformation on this st atement and in any attachments is true and correct.

                                                                                 ___________________________________________________
                                                                                /s/ Terry T Cousin                                                                                     ____________________________________
                                                                                 Signatur e of Debtor 1                                                                                Signature of Debtor 2


                                                                                Date _________________
                                                                                     September 4, 2015                                                                                 Date _________________
                                                                                       MM / DD         / YYYY                                                                                  MM / DD         / YYYY



                                                                           If you checked 17a, do N OT fill out or file Form 22C–2.
                                                                           If you checked 17b, fill out Form 22C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




                                                                    Official Form 22C–1                         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                      page 3
